                    Case 4:17-cv-00994-A Document 15 Filed 03/28/18                     Page 1 of 16 PageID 68
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                                         (jO          IN THE UNITED STATES DISTRICT C. URT
                                                      FOR THE NORTHERN DISTRICT OF     XAS        MAR 2 8 201B
                                                              FORT WORTH DIVISION

              STANDARD INSURANCE COMPANY,                              §                   CL/yRip~If1:X~T
                                                                       §                              Deputy
                                         Plaintiff,                    §
                                                                       §
              V,                                                       §        CA No.4: 17-cv-00994-A
                                                                       §
              PHILLIP A BOWLAND,                                       §
                                                                       §
                                    Defendant                          §
                                                                       §

                                             PLAINTIFF'S MOTION FOR DEFAULT JUDGMENT

                           Plaintiff Standard Insurance Company ("Standard") files this motion for default judgment

              (the "Motion") against Defendant Phillip A. Bowland ("Defendant"), and states:

                                                            NATURE OF THE ACTION

                           Standard filed its Original Complaint (the "Complaint") (Dkt 1) in this cause on

              December 14, 2017, seeking equitable rescission from a plan participant under a plan governed

              by the Employee Retirement Income Security Act of1974, 29 U.S.C. § 1001, et seq. ("ERISA").

               Specifically, Standard filed this suit requesting that the Court rescind and cancel Defendant's

               long-term disability ("LTD") insurance coverage issued to Defendant under Standard's group

               LTD insurance policy no. 649087-C (the "Group Policy") due to material misrepresentations by

               Defendant on the application. Second, Standard sought a declaratory judgment that Defendant

               never obtained the LTD insurance coverage under the Group Policy due to Defendant's material

               misrepresentations on the application for coverage. Finally, Standard sought its reasonable and

               necessary attorneys' fees and court costs.             To date, despite being properly served via hand

               delivery, Defendant has not filed an answer to Standard's Complaint or otherwise entered an

               appearance in this case. Thus, Standard respectfully requests that the Court grant this Motion.


               PLAINTIFF'S MOTION FOR DEFAULT JUDGMENT- Page 1
   Case 4:17-cv-00994-A Document 15 Filed 03/28/18                 Page 2 of 16 PageID 69



                                      OPERATIVE FACTS

       1.     The Plan. Caliber Home Loans, Inc. ("Caliber") established and maintained an

employee welfare benefit plan as defined by 29 U.S. C. § 1002(1) (the "Plan") to provide certain

benefits to its eligible employees.   Among the benefits provided under the Plan to eligible

employees is LTD insurance fully insured by the Group Policy issued by Standard, as amended

from time to time.

       2.     The Application. On October 24, 2015, Defendant applied for LTD insurance

coverage under the Group Policy (the "Application"). Importantly, on the Application,

Defendant answered "no" to all medical questions on the Application, including the following:

       #2(A) Has a medical professional ever treated you for, diagnosed you as having, or
       prescribed medication for you for any of the following: Disease of the liver, pancreas,
       kidney, ulcers, stomach, intestinal ailment, or digestive system disorder?

       #2(D) Has a medical professional ever treated you for, diagnosed you as having, or
       prescribed medication for you for any of the following: Cardiovascular disease, heart
       ailment, arteriosclerosis, abnormal pulse, high blood pressure, heart murmur, valve,
       circulatory, or vascular disorders?

       #2(G) Has a medical professional ever treated you for, diagnosed you as having, or
       prescribed medication for you for any of the following: Osteoarthritis, rheumatoid
       arthritis, osteoporosis, pain in the joints, amputations, or other disease or disorder of the
       bones, joints, body, or spine, arthritic or disc conditions?

       #2(J) Has a medical professional ever treated you for, diagnosed you as having, or
       prescribed medication for you for any of the following: Psychiatric or mental conditions,
       depression, adjustment disorder, affective disorder, or anxiety disorder, or obsessive-
       compulsive disorder?

(emphasis added). Defendant also signed the Application beneath the following:

       I represent that the statements contained herein, including those made in response to the
       Medical History Statement questions and any attachments, are true and complete, and I
       understand that they form the basis of any coverage under the Group Policy(ies). I
       understand that any misstatements or failure to report information which is material to the
       issuance of coverage may be used as a basis for rescission of my insurance and/or denial
       of payment of a claim. I agree to notify Standard Insurance Company (The Standard) of
       any change in my medical condition while my enrollment application is pending.



PLAINTIFF'S MOTION FOR DEFAULT JUDGMENT- Page 2
   Case 4:17-cv-00994-A Document 15 Filed 03/28/18                 Page 3 of 16 PageID 70



       3.      Standard Issues Coverage. In reliance on the Application, Standard approved

LTD insurance coverage for Defendant under the Group Policy on November20, 2015. This

coverage is subject to the following incontestability provision in the Group Policy:

       Any statement made to obtain or to increase insurance is a representation and not a
       warranty. No misrepresentation will be used to reduce or deny a claim or contest the
       validity of insurance unless:

       1. The insurance would not have been approved if we had known the truth; and

       2. We have given you or any other person claiming benefits a copy of the signed
       written instmment which contains the misrepresentation.

       After insurance has been in effect for two years during the lifetime of the insured, we will
       not use a misrepresentation to reduce or deny the claim, unless it was a fraudulent
       misrepresentation.

       4.      The Claim.     Defendant submitted a claim for LTD benefits under the Group

Policy, claiming that he became disabled and unable to work on December 17, 2016, due to back

surgery (the "Claim"). Standard subsequently received various materials in support of

Defendant's Claim, and commenced its routine contestable investigation of the Claim, as his

LTD insurance coverage under the Group Policy had not been in effect for two (2) years.

       5.      Standard Learns of the Misstatements.           During its investigation, Standard

requested and obtained records from (among other providers) Highlands Medical Group,

Arlington Memorial Hospital, Texas Digestive Disease Consultants, and Methodist Mansfield

Medical Center, and these records revealed that Defendant made misrepresentations in the

Application regarding his history of anxiety. By way of example:

               •       On October 8, 2015, Defendant's records reflect a diagnosis and
                       treatment for anxiety;
               •       On November 20, 2014, Defendant's records reflect a diagnosis
                       and treatment for anxiety;
               •       On July 17, 2014, Defendant's medical records reflect a diagnosis
                       and treatment for anxiety;



PLAINTIFF'S MOTION FOR DEFAULT JUDGMENT- Page 3
   Case 4:17-cv-00994-A Document 15 Filed 03/28/18                Page 4 of 16 PageID 71



              •       On January 16,2014, Defendant's medical records reflect a
                      diagnosis and treatment for anxiety; and
              •       On January 23, 2012, Defendant's medical records reflect a
                      diagnosis and treatment for anxiety.

       6.     Defendant did not disclose any information regarding his history of anxiety or the

treatment or testing for that condition to Standard, whether in the Application or otherwise,

during the application process for the subject LTD insurance coverage.

       7.     Standard Rescinds the Coverage. Upon completion of its contestable review,

Standard determined that Defendant had, in failing to truthfully answer Standard's questions on

the Application, made misrepresentations that were material to the underwriting risk and were

relied upon by Standard in issuing the LTD insurance coverage under the Group Policy. Had

Standard known of the Defendant's true health history, it would have not issued him the LTD

insurance coverage. By letter dated November 16, 2017, Standard gave notice to Defendant that

it would not be bound by the LTD insurance coverage under the Group Policy and tendered the

premiums (with interest) that had been paid for it.   Therein, Standard also notified Defendant

that even if his LTD insurance coverage under the Group Policy had not been rescinded by

Standard, the Claim would not have been payable in any event because Defendant is not Totally

Disabled under the Own Occupation definition of Disability under the Group Policy.

                                 PROCEDURAL HISTORY

       8.     On December 14, 2017, Standard filed its Complaint, in which it sought the

Court's declaration that Defendant's LTD insurance coverage under the Group Policy was

properly canceled and rescinded. The Court issued summons for Defendant (Dkt. 6), which

Standard forwarded to process servers for service. On January 20, 2018, Standard served copies

of the Complaint and the Summons on Defendant by hand delivery through a process server

(Dkt. 14; Dkt. 10), and he has not entered an appearance or otherwise answered this action.


PLAINTIFF'S MOTION FOR DEFAULT JUDGMENT- Page 4
   Case 4:17-cv-00994-A Document 15 Filed 03/28/18                 Page 5 of 16 PageID 72



                            DEFENDANT IS NOT IN MILITARY

       9.      As set forth in the Declaration of Stephanie A. Young, RP, attached hereto as

Exhibit "I" and is incorporated herein by reference, Defendant is not on active military duty.

                             CLERK'S DEFAULT REQUESTED

       10.     Concurrently with this Motion, Standard has requested the Clerk to enter

Defendant's default, pursuant to FED. R. Crv. P. 55(a), since he was duly and lawfully served and

the time for him to answer, plead, or otherwise defend has expired.

                             ARGUMENT AND AUTHORITIES

       II.     Standard is entitled to the requested default judgment. Defendant's failure to

answer and defend this lawsuit, and subsequent default, constitutes an admission of all of the

allegations asserted against him in the Complaint. See Nishimatsu Constr. Co. v. Houston Nat 'I

Bank, 515 F.2d 1200, 1206 (5th Cir. 1975). Standard respectfully requests that, pursuant to FED.

R. Crv. P. 55(b)(2), the Court sign the Default Judgment submitted herewith as Exhibit "2,"

granting Standard the relief it has requested including an adjudication that Defendant's LTD

insurance coverage under the Group Policy was properly canceled and rescinded.

       12.     In addition to the foregoing relief, Standard requests an award of its reasonable

and necessary attorneys' fees under 29 U.S.C. § !132(g)(l). To recover such fees, Standard must

show some degree of success on the merits. See Hardt v. Reliance Standard Life Ins. Co., 560

U.S. 242, 255 (2010) (internal citations and qnotations omitted). Once the Court determines that

a party is eligible for a fee award, it may consider: (!) the degree of the opposing parties'

culpability or bad faith; (2) the ability of the opposing parties to satisfy an award of attorneys'

fees; (3) whether an award of attorneys' fees against the opposing parties would deter other

persons acting under similar circumstances; (4) whether the parties requesting attorneys' fees




PLAINTIFF'S MOTION FOR DEFAULT JUDGMENT- Page 5
   Case 4:17-cv-00994-A Document 15 Filed 03/28/18                   Page 6 of 16 PageID 73



sought to benefit all participants and beneficiaries of an ERISA plan or to resolve a significant

legal question regarding ERISA itself; and (5) the relative merits of the parties' positions. Iron

Workers Local No. 272 v. Bowen, 624 F.2d 1255, 1266 (5th Cir. 1980)).

       13.    Applying the foregoing, Standard properly filed this rescission action in good

faith, seeking to rescind Defendant's coverage under the Group Policy due to material

misrepresentations on the application for insurance submitted to Standard, with knowledge that

they would be relied upon in granting any coverage under the Group Policy. If the Motion is

granted by the Court, this result will show success on the merits by Standard. As such, Standard

should recover its reasonable attorneys' fees in the amount of $6,000.00. See Exhibit "3."

       14.     Standard engaged Figari +Davenport, LLP. ("Figari +Davenport") to represent it

in this matter.     Figari + Davenport filed Standard's original complaint seeking to rescind

Defendant's coverage under the Group Policy, which, if payable, would have provided

approximately $2,400 a month in LTD benefits to Defendant through age 65.

       15.     In light of the nature of the claims, the amount of controversy, the services

performed in the lawsuit, as well as the other factors set forth in Texas Disciplinary Rule of

Professional Conduct 1.04(b), attorneys' fees of $6,000.00 were necessarily incurred for

prosecuting Standard's rescission action and are reasonable in relation to attorneys' fees

generally charged for the same or similar work in Texas. See Exhibit "3."

                                      RELIEF REQUESTED

       16.        Standard respectfully requests that, pursuant to FED. R. C1v. P. 55(b)(2), the Court

sign the Default Judgment against Defendant submitted herewith granting Standard the requested

rescission of Defendant's coverage under the Group Policy; and an award to Standard of its

reasonable and necessary attorneys' fees and costs to be paid to Figari + Davenport.




PLAINTIFF'S MOTION FOR DEFAULT JUDGMENT- Page 6
   Case 4:17-cv-00994-A Document 15 Filed 03/28/18     Page 7 of 16 PageID 74



Dated: March 27, 2018


                                    By:_t----'il---H-"---------
                                                     mber
                                                     4041428
                                      ryan.m comber@figdav.com
                                      Cameron E. Jean
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                                    (214) 939-2000- telephone
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                                    ATTORNEYS FOR PLAINTIFF




PLAINTIFF'S MOTION FOR DEFAULT JUDGMENT- Page 7
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                                                                                  EXHIBIT 1

                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF TEXAS
                            FORT WORTH DIVISION

STANDARD INSURANCE COMPANY, §
                            §
     Plaintiff,             §
                            §
v.                          §                         C.A. NO.4: 17-cv-994-A
                            §
PHILLIP A. BOWLAND,         §
                                             §
      Defendant.                             §

                 DECLARATION OF STEPHANIE A. YOUNG, RP

       1.     My name is Stephanie A. Young, RP. I am over 18 years of age, of sound

mind, capable of making this declaration, and personally acquainted with the facts stated

herein. The facts and statements contained in this declaration are made on the basis of my

personal knowledge and are true and correct.

       2.     I am a paralegal with Figari + Davenport, L.L.P. In that capacity, I

investigated the facts below.

       3.     On March 27, 2018, I ran the name Phillip A. Bowland with his social

security number through the Servicemembers Civil Relief Act ("SCRA") web site for

military verification, which is run by the Department of Defense, for the purpose of

identifying individuals who are protected from suit by reason of their current service

posting in the United States Military, Reserve, and Guard. According to that site,

Phillip A. Bowland is not on active military duty.

       4.     Attached to this Declaration is a true and correct copy of the SCRA

Certification verifying that Phillip A. Bowland is not on active military duty.


DECLARATION OF STEPHANIE A. YOUNG, RP- Page 1
    Case 4:17-cv-00994-A Document 15 Filed 03/28/18         Page 9 of 16 PageID 76



       I declare under penalty of perjury under the laws of the United States of America

that the foregoing is true and correct.

       EXECUTED on this 27th day of March, 2018.




DECLARATION OF STEPHANIE A. YOUNG, RP- Page 2
          Case 4:17-cv-00994-A Document 15 Filed 03/28/18                                                                                   Page 10 of 16ResultsPageID          77
                                                                                                                                                                 as of: Mar-27-2018 01:53:26 PM
Department of Defense Manpower Data Center
                                                                                                                                                                                           SCRA 4.4




                            Status Report
                            Pursuant to Servicemembers Civil Relief Act

SSN:                           XXX-XX-5926
Birth Date:
Last Name:                     BOWLAND
First Name:                    PHILLIP
Middle Name:
Status As Of:                  Mar-27 -2018
Certificate ID:                W4CXX7XWRQ2NRZS

                                                                                      On Active Duty On Active Duty Status Date             .

           Active Duty Start Date               I               Active Duly End Date                      I                        Status                    I         Service Component
                     NA                         I                             NA                          I                         No                       I                NA
                                                      This response reflects the individuals' active duty status based on'the Act!ve Duly Status Date
                                                                          .   ... ·            .                   .


              ·.·                                                         Left Active Duty WJ!hln 367 Days of Active' Duty Status Date                       .



           Active Duty Start Date               I               Active Duty End Date                      I                        Status                    I         Service Component
                     NA                         I               ..    ·       NA                     .. · I                · ..·     No                      I                NA
                                         This response reflects whete'the .individual left active duty st8tus Wi1hln 367 days preceding th<i AcUvi: Duty Status Date

                                                                                                               .

                                                 .The Member or His/Her Unit Was Nolified of a Future Call-Up to Active Duty on Active Duty Status Date
         Order Notification Start Date          I            Order Notification End Data
                                                                                      .
                                                                                                          I                        Status                    I         Service Component
                                                                                                                       .                                     I
                     NA                         I                             NA          .·
                                                                                                          I.                         No                                       NA
                                            This response reflects whether the individual or his/her unit has racelvad early notll\caUon to report for active duty
                                                                                                                   ..
Upon searching the data banks of the Department of Defense Manpower Data Center, based on the information that you provided, the above is the status of
the individual on the active duty status date as to all branches of the Uniformed Services (Army, Navy, Marine Corps, Air Force, NOM, Public Health, and
Coast Guard). This status includes information on a Servicemember or his/her unit receiving notification of future orders to report for Active Duty.




Michael V. Sorrento, Director
Department of Defense " Manpower Data Center
400 Gigling Rd.
Seaside, CA 93955
          Case 4:17-cv-00994-A Document 15 Filed 03/28/18                                                 Page 11 of 16 PageID 78
The Defense Manpower Data Center (DMDC) is an organization of the Department of Defense (DoD) that maintains the Defense Enrollment and Eligibility
Reporting System (DEERS) database which is the official source of data on eligibility for military medical care and other eligibility systems.

The DoD strongly supports the enforcement of the Servlcemembers Civil Relief Act (50 USC App. ? 501 et seq, as amended) (SCRA) (formerly known as
the Soldiers' and Sailors' Civil Relief Act of 1940). DMDC has issued hundreds of thousands of "does not possess any information indicating that the
individual is currently on active duty" responses, and has experienced only a small error rate. In the event the individual referenced above, or any family
member, friend, or representative asserts in any manner that the individual was on active duty for the active duty status date, or is otherwise entitled to the
protections of the SCRA, you are strongly encouraged to obtain further verification of the person's status by contacting that person's Service, Service contact
information can be found on the SCRA website's FAQ page (033) via this URL: https://scra.dmdc.osd.mil/faq.xhtmi#Q33. If you have evidence the person
was on active duty for the active duty status date and you fail to obtain this additional Service verification, punitive provisions of the SCRA may be invoked
against you. See 50 USC App. ? 521 (c).

This response reflects the following information: (1) The individual's Active Duty status on the Active Duty Status Date (2) Whether the individual left Active
Duty status within 367 days preceding the Active Duty Status Date (3) Whether the individual or his/her unit received early notification to report for active
duty on the Active Duty Status Date.


More information on "Active Duty Status"
Active duty status as reported in this certificate is defined in accordance with 10 USC? 101(d) (1). Prior to 2010 only some of the active duty periods less
than 30 consecutive days in length were available. tn the case of a member of the National Guard, this includes service under a call to active service
authorized by the President or the Secretary of Defense under 32 USC ? 502(f) for purposes of responding to a national emergency declared by the
President and supported by Federal funds. All Active Guard Reserve (AGR) members must be assigned against an authorized mobilization position in the
unit they support. This includes Navy Training and Administration of the Reserves (TARs), Marine Corps Active Reserve (ARs) and Coast Guard Reserve
Program Administrator (RPAs). Active Duty status also applies to a Uniformed Service member who is an active duty commissioned officer of the U.S.
Public Health Service or the National Oceanic and Atmospheric Administration (NOAA Commissioned Corps).


Coverage Under the SCRA is Broader in Some Cases
Coverage under the SCRA is broader In some cases and includes some categories of persons on active duty for purposes of the SCRA who would not be
reported as on Active Duty under this certificate. SCRA protections are for Title 10 and Title 14 active duty records for all the Uniformed Services periods.
Title 32 periods of Active Duty are not covered by SCRA, as defined in accordance with 10 USC? 101(d)(1).

Many times orders are amended to extend the period of active duty, which would extend SCRA protections. Persons seeking to rely on this website
certification should check to make sure the orders on which SCRA protections are based have not been amended to extend the inclusive dates of service.
Furthermore, some protections of the SCRA may extend to persons who have received orders to report for active duty or to be inducted, but who have not
actually begun active duty or actually reported for induction. The Last Date on Active Duty entry is important because a number of protections of the SCRA
extend beyond the last dates of active duty.

Those who could rely on this certificate are urged to seek qualified legal counsel to ensure that all rights guaranteed to Service members under the SCRA
are protected

WARNING: This certificate was provided based on a last name, SSN/date of birth, and active duty status date provided by the requester. Providing
erroneous information will cause an erroneous certificate to be provided.
     Case 4:17-cv-00994-A Document 15 Filed 03/28/18              Page 12 of 16 PageID 79

                                                                                       EXHIBIT2
                              IN THE UNITED STATES DISTRICT COURT
                              FOR THE NORTHERN DISTRICT OF TEXAS
                                      FORT WORTH DIVISION

STANDARD INSURANCE COMPANY,                     §
                                                §
                 Plaintiff,                     §
                                                §
v.                                              §          C.A. No. 4:17-cv-00994-A
                                                §
PHILLIP A. BOWLAND,                             §
                                                §
              Defendant.                        §
                                                §

                                      DEFAULT JUDGMENT

          Pending before the Court is Plaintiff Standard Insurance Company's ("Standard") Motion

for Default Judgment (the "Motion") against Defendant Phillip A. Bowland ("Defendant").

Having considered the Motion, the pleadings on file, and the applicable law, and otherwise being

fully informed, the Court finds that Standard has made an appearance in this action and has

announced ready for trial and that Defendant, although having been duly and legally summoned

to appear and answer, failed to appear, answer, plead, or otherwise defend and has defaulted.

The Court further finds that the Summons was properly served on Defendant pursuant to law,

and that the return of service was filed with the Clerk in the time required by law. The Court has

read the pleadings and the papers on file, and it is of the opinion that Standard's allegations

against Defendant in the Original Complaint (Dkt. I) have been admitted. It is therefore

          ORDERED, ADJUDGED, and DECREED that the Motion is hereby GRANTED. It is

further

          ORDERED, ADJUDGED, and DECREED that a DEFAULT JUDGMENT is hereby

entered in Standard's favor against Defendant. It is further




DEFAULT JUDGMENT- Page I
   Case 4:17-cv-00994-A Document 15 Filed 03/28/18                 Page 13 of 16 PageID 80



        ORDERED, ADJUDGED, and DECREED that Defendant's long-term disability

("LTD") insurance coverage under group LTD insurance policy no. 649087-C (the "Group

Policy"), fully insured by Standard, is hereby declared null, void, terminated, and rescinded ab

initio as if never effective. It is further

        ORDERED, ADJUDGED, and DECREED that as a result of the rescission of

Defendant's coverage under the Group Policy, any claims that have been submitted in the past,

or may be submitted in the future, by Defendant under the Group Policy are not eligible for

payment. It is further

        ORDERED, ADJUDGED, and DECREED that Standard has refunded, m full, the

premiums Defendant paid in connection with the Group Policy. It is further

        ORDERED, ADJUDGED, and DECREED that no right of recovery for Defendant exists

or has ever existed under the Group Policy, whether at law or in equity. It is further

        ORDERED, ADJUDGED, and DECCREED that Standard is awarded its reasonable and

necessary attorneys' fees in the amount of$6,000.00. It is further

        ORDERED, ADJUDGED, and DECREED that any and all claims, demands, debts, or

causes of action that Defendant could have asserted against Standard herein are DISMISSED

WITH PREJUDICE.

        This is a FINAL JUDGMENT.

        SO ORDERED.

        SIGNED this __ day of _ _ _, 2018.



                                              UNITED STATES DISTRICT JUDGE




DEFAULT JUDGMENT- Page 2
     Case 4:17-cv-00994-A Document 15 Filed 03/28/18           Page 14 of 16 PageID 81


                                                                                    EXHIBIT3
                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                    FORT WORTH DIVISION

STANDARD INSURANCE COMPANY,                  §
                                             §
               Plaintiff,                    §
                                             §
v.                                           §         C.A. No. 4:17-cv-00994-A
                                             §
PHILLIP A. BOWLAND,                          §
                                             §
             Defendant.                      §
                                             §


                      DECLARATION OF RYAN K. MCCOMBER

        1.     My name is Ryan K. McComber. I am a partner in the Dallas, Texas law firm

of Figari + Davenport, L.L.P. ("Figari + Davenport"). I am one of the attorneys

representing Plaintiff Standard Insurance Company ("Standard") in this action. By virtue

of my experience as a lawyer and my representation of Standard in this case, I have

personal knowledge of the facts stated below, and they are all true and correct.

        2.      I obtained my B.A. from the University of Oklahoma in 2000 and my J.D.

from Southern Methodist University School of Law in 2003. Since obtaining my law

license in 2003, I have practiced law throughout Texas. I am admitted to practice before

all of the United States District Courts in Texas, and the United States Courts of Appeals

for the Fifth Circuit and the Ninth Circuit. I have practiced exclusively in the area of civil

litigation since 2003 and, for the last 10 plus years, have spent much of my time

representing insurance companies in various types of actions, including rescission actions




DECLARATION OF RYAN K. MCCOMBER- Page I
  Case 4:17-cv-00994-A Document 15 Filed 03/28/18               Page 15 of 16 PageID 82



like this case. As such, I am familiar with the reasonable fees charged by attorneys in Texas

for work similar to that involved in the claims asserted in this action.

       3.     In determining whether the fees sought by Standard in this action are

reasonable, I have considered the following factors:

              (a)    the time and labor required;

              (b)     the novelty and difficulty of the questions involved;

              (c)     the skill requisite to perfonn the legal services properly;

              (d)     the likelihood that the acceptance of the particular employment would
                      preclude other employment;

              (e)     the fee customarily charged in the locality for similar legal services;

              (f)     whether the fee is fixed or contingent;

              (g)     the time limitations imposed by the client or by the circumstances;

              (h)     the amount involved and the results obtained;

              (i)     the experience, reputation, and ability of the counsel performing the
                      services;

              U)      the "undesirability" of the case;

              (k)     the nature and length of the professional relationship with the client;
                      and

              (I)     awards in similar cases.

       4.     The bases for my opinions include my experience, skill, and training as an

attorney together with information specifically related to the prosecution and defense of

this action. In rendering my opinions, I have relied upon, among other documents, the claim

file and pleadings filed in this action.




DECLARATION OF RYAN K. MCCOMBER- Page 2
  Case 4:17-cv-00994-A Document 15 Filed 03/28/18              Page 16 of 16 PageID 83



       5.     My hourly billing rate for this matter is $280, and the associate assigned to

this case has an hourly rate of $250. Based on my experience, it is my opinion that such

rates are reasonable, usual, and customary in Texas for matters of this type.

       6.     Based on the reasonable hourly rates above, the total fees incurred by

Standard in this matter amount to $6,000, which were reasonable and necessarily incurred,

for reviewing the relevant claim documents, reviewing correspondence from the Defendant

prior to suit, drafting and filing this action, preparing Standard's documents for production,

and filing the motion for default and supporting documents. All told, Figari + Davenport

expended 23 hours of attorney and paralegal time in connection with the prosecution of

this case, which reflects a blended hourly rate of $261 in this matter.

       I declare under penalty of perjury under the laws of the United States f America

that the foregoing is true and correct.

       EXECUTED on this 27th day ofM c




DECLARATION OF RYAN K. MCCOMBER- Page 3
